                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       §
                                               §
V.                                             § CAUSE:
                                                     Case
                                                        NO.No.:
                                                            21-CR-327
                                                                1:21-cr-605 (RC)
                                               §
ISAAC WESTBURY,                                §
AARON JAMES,                                   §
ROBERT WESTBURY, and
JONAH WESTBURY.
                                                /

                        MOTION FOR CONTINUANCE OF TRIAL

        Defendants, by and through undersigned counsel, Anthony Sabatini, Esq., file a

Motion for Continuance of Trial, and state:

1.      Defendant's Counsel requests a continuance of the Trial, currently set for

November 18, 2024, and requests a 60 day continuance.

2.      Defendant's Counsel serves as an Officer in the Florida Army National Guard

and was activated to service by Governor DeSantis on October 6, 2024 at 1p.m., in

response to Hurricane Milton. See Exhibit A. He is still in full time active service.

Previously in September, he was called into active service for 10 days to assist in

response to Hurricane Helene. See Exhibit B. Defendant's Counsel is still currently

tasked to duty and is expected to be in service for several more weeks.

3.      Due to these military orders, Defendant's Counsel additional time for preparation

for trial.

4.       This motion is made in good faith and not for the purpose of delay.

5.      Defendants waives speedy trial during this time.

WHEREFORE; Defendant respectfully requests that this Court enter an Order granting


                                                                                         1
this Motion to Continue.

DATED: October 15, 2024.

                                               Respectfully submitted.

                                               /s/ ANTHONY F. SABATINI
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                                               Attorney for Defendants

                             CERTIFICATE OF SERVICE

I hereby certify that on October 15, 2024, I filed the foregoing using the CM/ECF system
which will give electronic notification to all attorneys of record.

                                               /s/ Anthony F. Sabatini
                                               FL Bar No. 1018163




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EX. A
EX. B
